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IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF ILLINOIS, WESTERN DIVISON

MITCHELL W. KIRKSEY, )
)
Plaintiff, ) No. 19 CV 50302
VS. )
) Judge Iain D. Johnston
SERGEANT KRAMER, )
) Magistrate Judge Lisa A. Jensen
Defendant. )

RESPONSE TO PLAINTIFF’S MOTION
FOR A COURT ORDER

This case involves a claim of excessive force against Daniel Kramer, which
allegedly occurred when plaintiff was arrested on July 20, 2018. Amended
Complaint §{[ 3-4 at 4 (Dkt # 64). Plaintiff now seeks “a copy of the proceedings”
before the grand jury that resulted in his indictment nearly one month later. His
avowed purpose “is his belief that a true bill was never issued against him but that
the indictment against Ms. McGhee-Stapleton [sic] was simply cut and pasted with
his name.” Motion { 3 at 1 (Dkt # 68). Because grand jury proceedings are
prohibited from disclosure and because his indictment is not relevant to any issue
raised in plaintiffs amended complaint, the motion should be denied.

As a threshold matter, plaintiffs motion should be denied, because he fails to
allege that he first sought disclosure from the state court, and that that court
denied his request.

“When state grand jury proceedings are subject to disclosure,

comity dictates that the federal courts defer action on any disclosure

requests until the party seeking disclosure shows that the state

supervisory court has considered his request and has ruled on the
continuing need for secrecy. Otherwise the potential threat of
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disclosure orders in subsequent federal litigation would seriously

weaken the state court’s control over the secrecy of this essential

component of its criminal justice system.”
Lucas v. Turner, 725 F.2d 1095, 1099 (7th Cir. 1984), quoting Socialist Workers
Party v. Grubisic, 619 F.2d 641, 644 (7 Cir. 1980). See also Douglas Oil Co. v.
Petrol Stops Northwest, 441 U.S. 211, 226 (1979) (“in general, requests for
disclosure of grand jury transcripts should be directed to the court that supervised
the grand jury’s activities”).1

Even if plaintiff had sought release of the grand jury proceedings from the
state court and even if that court had denied his request, he still would not be
entitled to disclosure. The party seeking disclosure of grand jury testimony has a
high burden.

Parties seeking grand jury transcripts under Rule 6(e) [Fed. R. Crim.

Pro.] must show that the material they seek is needed to avoid a

possible injustice in another judicial proceeding, that the need for

disclosure is greater than the need for continued secrecy, and that

their request is structured to cover only material so needed.
Douglas O1l Co. v. Petrol Stops Northwest, 441 U.S. 211, 222 (1979). This burden is
equally high under Illinois law. In re Extended March 1975 Grand Jury No. 655, 84
IL. App.38d 847, 851 (1st Dist. 1980) (“Under Federal law, proceedings before a grand

jury are protected against disclosure by the Federal common law policy of secrecy

for precisely the same reasons as stated under Illinois law”). Whether to permit

 

1 Plaintiff alleges that he “requested this information from 22™4 Judicial Circuit Court of
McHenry County, Illinois, but plaintiff was informed that pursuant to 725 ILCS 5/112-6,
disclosure of Grand Jury proceedings is not permitted short of a court order.” Motion § 6 at
2 (Dkt # 64). Plaintiff does not allege that he sought such a court order.
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disclosure rests in the trial court’s discretion, “weighing the need for secrecy against
the need for disclosure of specified documents and testimony occurring before the
grand jury.” Lucas, 725 F.2d at 1101.

In order to meet the high burden required for disclosure, “the Supreme Court
has consistently held that a strong showing of particularized need is required before
any grand jury materials are disclosed.” Lucas, 725 F.2d at 1101, citing cases. “Put
simply, the secrecy of the grand jury proceeding will not be broken except where the
party seeking disclosure can show a ‘compelling necessity’ or a ‘particularized
need.” In re Grand Jury Proceedings, 942 F.2d 1195, 1198 (7 Cir. 1991), quoting
Douglas Oil Co., 441 U.S. at 222. Plaintiff does not challenge his indictment in this
case; he alleges only that the defendant used excessive force in arresting him.
Plaintiffs allegations fall far short of the “strong showing of particularized need”
required before disclosure of grand jury proceedings is allowed.

Plaintiff seeks “a copy of the grand jury proceedings” only because “it is his
belief that a true bill was never issued against him but that the indictment against
Ms. McGhee-Stapleton [his co-defendant] was simply cut and pasted with his
name.” Motion § 3. However, “[t]he mere speculation of irregularity is not enough to
entitle the defendant to disclosure of grand jury material.” Cueto v. Stepp, 2005 U.S.
Dist. LEXIS 35633 at *50, 2005 WL 3448030, quoting United States v. Hart, 513
F.Supp. 657, 658 (E.D. Pa. 1081) (citing United States v. Budzanoski, 462 F.2d 443,
454 (8d Cir. 1972). Although it is unclear exactly what the plaintiff means, to the

extent he claims that his indictment was defective, that issue is not the subject of
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his complaint in this case. Plaintiffs only claim is that the defendant used excessive
force to arrest him. Amended Complaint {J 4-5 at 4 (Dkt # 64). Nowhere in
plaintiffs motion does he explain the relevance of his indictment to his claim of
excessive force in connection with his arrest. Plaintiff challenges neither his
indictment nor his arrest in this case.

In order to demonstrate a particularized need, plaintiff must show that the
need for disclosure is greater than the need for continued secrecy. Plaintiff fails to
demonstrate any need for “a copy of the grand jury proceedings,” much less a need
that is greater than the need for continued secrecy applicable to grand jury
proceedings. Neither does it matter that the grand jury that indicted plaintiff is no
longer sitting nor that his criminal prosecution has concluded. The fact that
proceedings before the grand jury have been terminated, standing alone, does not
justify disclosure. Douglas Oil Co., 441 U.S. at 221.

Conclusion

For the reasons stated herein, defendant requests this Court to deny
plaintiffs Motion for a Court Order.

Sergeant Daniel Kramer

By: /s/ George M. Hoffman
One of his Attorneys
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CERTIFICATE OF SERVICE

The undersigned attorney, George M. Hoffman, hereby certifies that a copy of
defendant’s Response to Plaintiff's Motion for a Court Order was served on

Mitchell Kirksey

Jacksonville Correctional Center
R-52062

2268 E. Morton Ave.
Jacksonville, IL 62650

by depositing a copy in the U.S. Mail located at 2200 N. Seminary Avenue,
Woodstock, Illinois, First-Class postage prepaid, on February 2, 2021.

/s/ George M. Hoffman

 
